AO 106A (08/18) Application fora Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Case No, 1:23am. CZ

500 Jackson Street, Kannapolis, NC, and electronic
devices owned, used, or controlled by Brett Rotella a/k/a
Brett Ostrander at the premises

ee

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A
located in the Middle District of North Carolina , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
wo evidence of a crime;
om contraband, fruits of crime, or other items illegally possessed;
a property designed for use, intended for use, or used in committing a crime;
(1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 1512(c)(2); § 111; Obstruction of Congress; Assault, resist, or impede certain officers; conspiracy;
§ 371; § 372; § 1361; § 2101; conspiracy to impede or injure officers; destruction of government property;
§ 231; 40 U.S.C. § 5104(e)(2) interstate travel to participate in a riot; civil disorder; unlawful activities on Capitol

The application is based on these facts:
See Affidavit

a Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

/S/ Barton Jenkins

Applicant’s signature

Barton Jenkins, Special Agent, FBI

Printed name and title

On this day, the applicant appeared before me via reliable electronic means, that is by telephone, was placed under

oath, and attested to the contents of this Application for a search warrant in accordance with the requirements of
Fed. R. Crim, P. 4.1,

Date: 0k | 25 25

SV
ZH en x

City and state: Greensboro, North Carolina L. Patrick Auld, U.S. Magistrate Judge

Printed name and title

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ATTACHMENT A

Property to be searched.
The property to be searched is 500 Jackson Street, Kannapolis, North Carolina (the

“PREMISES”), further described as a single story, stand-alone house with red brick exterior and

white shutters.

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ATTACHMENT B

Property to be seized.

The items to be seized are evidence, information, or instrumentalities, in whatever form
and however stored, relating to violations of 18 U.S.C. §§ 1512(c)(2) (obstruction of Congress);
111 (assaulting, resisting, or impeding certain officers); 231 (civil disorder), 371 (conspiracy); 372
(conspiracy to impede or injure officer); 641 (theft of government property); 1361 (destruction of
government property); 2101 (interstate travel to participate in riot); 1752(a) (various offenses in
restricted buildings or grounds); and 40 U.S.C. §§ 5104(e)(2) (various offenses in the Capitol
Buildings) (the “TARGET OFFENSES”) that have been committed by BRETT ROTELLA a/k/a
Brett Alan Ostrander (“the Subject’’) and other identified and unidentified persons, as described in
the search warrant affidavit; in the form of:

Clothing and Other Objects

ii Evidence of the TARGET OFFENSES such as articles of clothing worn by
ROTELLA or objects possessed or used by ROTELLA at the Capitol Buildings on January 6, 2021
to include a black sleeveless puffy vest, a red sleeveless t-shirt, a red skull cap, white or gray Nike
shorts with a Nike swoosh on them, and black tennis shoes; and flags or a flag pole, canisters of
pepper spray or other non-lethal crowd control remnants, consistent with those objects held or used
by ROTELLA on January 6, 2021; and other clothing, articles, or objects that constitute evidence
that ROTELLA participated in the unlawful activity at the U.S. Capitol;

Physical documents, records, photographs, papers and objects

2. Physical documents, records, photographs, papers, and objects that constitute
evidence of the TARGET OFFENSES, as follows:

a. documents, records, photographs, and objects that show ROTELLA and other
persons engaged in any conspiracy, planning, or preparation to commit those
offenses;

b. documents, records, photographs, and objects that show ROTELLA made efforts
after the fact to conceal evidence of his participation in those offenses, or to flee
prosecution for the same;

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c. documents, records, photographs, and objects that reveal the identity of persons
who collaborated, conspired, or assisted (knowingly or unknowingly) the
commission of the criminal activity under investigation;

d. documents, records, photographs, and objects that show ROTELLA engaged in
planning to unlawfully enter the U.S. Capitol, including any maps or diagrams of
the building or its internal offices;

e. documents, records, photographs, and objects that show ROTELLA unlawfully
entered into the U.S. Capitol, including any property of the U.S. Capitol;

f. documents, records, photographs, and objects that show ROTELLA researched or
had knowledge of the official proceeding that was to take place at Congress on
January 6, 2021, i.e., the certification process of the 2020 Presidential Election;

g. documents, records, photographs, and objects that show ROTELLA was making
efforts, or aware of other’s efforts to obstruct, impede, or disrupt the official
proceeding that was to take place at Congress on January 6, 2021, ie., the
certification process of the 2020 Presidential Election;

h. documents, records, photographs, and objects that show ROTELLA participated in
the breach and unlawful entry of the United States Capitol on January 6, 2021;

i. documents, records, photographs, and objects that show ROTELLA participated in
the riot and/or civil disorder at the United States Capitol on January 6, 2021,

j. documents, records, photographs, and objects that show ROTELLA participated in
the assaults of federal officers/agents and took actions to impede such federal
officers/agents in the performance of their duties the United States Capitol on
January 6, 2021;

k. documents, records, photographs, and objects that show ROTELLA committed
damage to, or theft of, property at the United States Capitol on January 6, 2021;

1. documents, records, photographs, and objects that show ROTELLA was aware
prior to January 6, 2021, that the U.S, Capitol was closed to the public on January
6, 2021;

m. documents, records, photographs, and objects that show ROTELLA was present at
the U.S. Capitol on or around January 6, 2021;

n. documents, records, photographs, and objects that show ROTELLA was
researching the results of, challenges to, or questions about the legitimacy of the
2020 Presidential Election;

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o. documents, records, photographs, and objects, such as receipts for travel, which

may serve to prove ROTELLA traveled to or from Washington, D.C. from
November, 2020 through January, 2021, his motive and intent for making such
travel to Washington, D.C. and the U.S. Capitol on or about January 6, 2021, and
the planning of his travel to and activities in Washington, D.C. on or about January
6, 2021, including coordinating travel with or planning to meet with other persons,
and his research about the U.S. Capitol, modes of travel, travel expenses, and travel
logistics on or about January 6, 2021;

documents, records, photographs, and objects that show ROTELLA knew about
plans to riot or intended to riot at the U.S. Capitol on January 6, 2021, participated
in the riot at the U.S. Capitol on January 6, 2021, or followed news accounts of the
investigation of the riot at the U.S. Capitol on January 6, 2021 in its aftermath;

documents, records, photographs, and objects containing names, addresses, and
telephone numbers of conspirators and potential witnesses of violations of the
TARGET OFFENSES when this association is evident from the document, record,
photograph, or object itself; and

Photographs of ROTELLA and/or co-conspirators at events in Washington D.C. on
January 6, 2021, and photographs of events in Washington D.C. on or about January
6, 2021, which constitute evidence of the TARGET OFFENSES by revealing
relationships between members of a conspiracy, and documenting places visited by
ROTELLA while in Washington D.C.

Electronic Devices (Cell Phones, Laptops, and Tablets) and Electronic Evidence

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The seizure of electronic devices (hereinafter “the Devices(s)”), belonging to

ROTELLA and located at the PREMISES at the time of the execution of this warrant, specifically:

a.

cellular phones bearing phone numbers XXX-XXX-8126 (“Rotella Phone 1”)
and/or XXX-XXX-7719 (“Rotella Phone 2”);

any additional cellular phone that can be easily identified as being owned or
possessed by ROTELLA; and

any laptop computer or tablet computer that can be easily identified as being owned

or possessed by ROTELLA.

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The search of each of the Device(s) for the following electronic evidence:

a. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA and other persons engaged in any
conspiracy, planning, or preparation to commit those offenses;

b. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA made efforts after the fact to conceal
evidence of his participation in those offenses, or to flee prosecution for the same;

c. electronic documents, records, data, videos, photographs, and _ electronic
communications that reveal the identity of persons who collaborated, conspired, or
assisted (knowingly or unknowingly) the commission of the criminal activity under
investigation;

d. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA engaged in planning to unlawfully enter the
U.S. Capitol, including any maps or diagrams of the building or its internal offices;

e, electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA unlawfully entered into the U.S. Capitol,
including any property of the U.S. Capitol,

f. electronic documents, records, data, videos, photographs, and_ electronic
communications that show ROTELLA researched or had knowledge of the official
proceeding that was to take place at Congress on January 6, 2021, i.e., the
certification process of the 2020 Presidential Election;

g. documents, records, photographs, and objects that show ROTELLA was making
efforts, or aware of other’s efforts to obstruct, impede, or disrupt the official
proceeding that was to take place at Congress on January 6, 2021, i.e., the
certification process of the 2020 Presidential Election;

h. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA participated in the breach and unlawful
entry of the United States Capitol on January 6, 2021;

i, electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA participated in the riot and/or civil disorder
at the United States Capitol on January 6, 2021,

j. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA participated in the assaults of federal
officers/agents and took actions to impede such federal officers/agents in the
performance of their duties the United States Capitol on January 6, 2021;

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k. electronic documents, records, data, videos, photographs, and _ electronic
communications that show ROTELLA committed damage to, or theft of, property
at the United States Capitol on January 6, 2021;

1. electronic documents, records, data, videos, photographs, and _ electronic
communications that show ROTELLA was aware prior to January 6, 2021, that the
U.S. Capitol was closed to the public on January 6, 2021;

m. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA was present at the U.S. Capitol on or around
January 6, 2021;

n. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA was researching the results of, challenges
to, or questions about the legitimacy of the 2020 Presidential Election;

o. electronic documents, records, data, videos, photographs, and_ electronic
communications that show ROTELLA made travel arrangements to travel to
Washington, D.C. in or around January 2021, his motive and intent for travel to
Washington, D.C, in or around January 2021, the planning of his travel to and
activity in Washington, D.C. on or about January 6, 2021, including coordinating
travel with or planning to meet with other persons, his research about the U.S.
Capitol, and mode of travel, travel expenses, and travel logistics on or about
January 6, 2021;

p. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA knew about plans to riot or intended to riot
at the U.S. Capitol on January 6, 2021, participated in the riot at the U.S. Capitol
on January 6, 2021, or followed news accounts of the investigation of the riot at the
U.S. Capitol on January 6, 2021 in its aftermath;

q. electronic documents, records, data, photographs, and electronic communications
that contain names, addresses, and telephone numbers of conspirators and potential
witnesses of violations of the TARGET OFFENSES when this association is
evident from the document, record, photograph, or object itself; and

r. electronic documents, records, data, videos, photographs, and electronic
communications that show ROTELLA and/or co-conspirators were at events in
Washington D.C. on January 6, 2021, and videos or photographs of events in
Washington D.C. on or about January 6, 2021, which constitute evidence of the
TARGET OFFENSES by revealing relationships between members of a
conspiracy, and documenting places visited by ROTELLA while in Washington
D.C.;

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The search of each of the Device(s) for:

a. evidence of who used, owned, or controlled the Device(s) at the time the things
described in this warrant were created, edited, or deleted, such as logs, registry
entries, configuration files, saved usernames and passwords, documents, browsing
history, user profiles, email, email contacts, chat, instant messaging logs,
photographs, and correspondence;

b. evidence of software, or the lack thereof, that would allow others to control the
Device(s), such as viruses, Trojan horses, and other forms of malicious software,
as well as evidence of the presence or absence of security software designed to
detect malicious software;

c. evidence of the attachment to the Device(s) of other storage devices or similar
containers for electronic evidence;

d. evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the Device(s);

e. evidence of the times the Device(s) was used in connection with items that are
otherwise subject to seizure under this warrant;

f. passwords, encryption keys, and other access devices that may be necessary to
access the Device(s);

g. documentation and manuals that may be necessary to access the Device(s) or to
conduct a forensic examination of the Device(s);

h. records of or information about Internet Protocol addresses used by the Device(s);
and

i. records of or information about the Device(s)’s Internet activity, including firewall
logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,
search terms that the user entered into any Internet search engine, and records of
user-typed web addresses that pertain to the events of January 6, 2021 at the U.S.
Capitol; attempts to obstruct, impede, or disrupt the official proceeding that was to
take place at Congress on January 6, 2021, i.e., the certification process of the 2020
Presidential Election; the U.S. Capitol grounds and features of the U.S. Capitol
building; the Federal Bureau of Investigation’s investigation of the events of
January 6, 2021 at the U.S. Capitol; ROTELLA’s own participation or the
participation of others in the events of January 6, 2021 at the U.S. Capitol, such as
rioting, assaulting or impeding police officers, and transgressing police barriers and

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U.S. Capitol access points; and pertaining to item otherwise subject to seizure under
this warrant.

Use of Biometric Information to Access the Devices(s)

6. Law enforcement personnel are also specifically authorized to obtain from
ROTELLA, a/k/a Ostrander the compelled display of any physical biometric characteristics (such
as fingerprint/thumbprint, facial characteristics, or iris display) necessary to unlock any Device(s)
identified in Attachment B, Paragraph 3, above, if the Device(s) were seized at the PREMISES
pursuant to this warrant and the Device(s) require such biometric access, for which law
enforcement has reasonable suspicion that the aforementioned person(s)’ physical biometric
characteristics will unlock the Device(s), to include pressing fingers or thumbs against and/or
putting a face before the sensor, or any other security feature requiring biometric recognition of:

(a) any of the Device(s) found at the PREMISES and listed in Attachment B,
Paragraph 3, above,

(b) where the Device(s) are limited to those which are capable of containing
and reasonably could contain fruits, evidence, information, contraband, or
instrumentalities of the offense(s) as described in the search warrant
affidavit and warrant attachments,

for the purpose of attempting to unlock the Device(s)’s security features in order to search the
contents as authorized by this warrant. Law enforcement officers are not authorized by this warrant
to utilize biometric characteristics from any other individuals present at the PREMISES at the time
of execution of the warrant to gain access to any electronic devices.

While attempting to unlock the device by use of the compelled display of biometric

characteristics pursuant to this warrant, law enforcement is not authorized to demand that the

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aforementioned person(s) state or otherwise provide the password or identify the specific biometric
characteristics (including the unique finger(s) or other physical features), that may be used to
unlock or access the Device(s). Nor does the warrant authorize law enforcement to use the fact
that the warrant allows law enforcement to obtain the display of any biometric characteristics to
compel the aforementioned person(s) to state or otherwise provide that information. However, the
voluntary disclosure of such information by the aforementioned person(s) is permitted. To avoid
confusion on that point, if agents in executing the warrant ask any of the aforementioned person(s)
for the password to any Device(s), or to identify which biometric characteristic (including the
unique finger(s) or other physical features) unlocks any Device(s), the agents will not state or
otherwise imply that the warrant requires the person to provide such information, and will make
clear that providing any such information is voluntary and that the person is free to refuse the
request.

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “digital devices” includes any electronic system or device capable of storing or
processing data in digital form, including central processing units; desktop computers, laptop
computers, notebooks, and tablet computers; personal digital assistants; wireless communication
devices, such as telephone paging devices, beepers, mobile telephones, and smart phones; digital
cameras; peripheral input/output devices, such as keyboards, printers, scanners, plotters, monitors,

and drives intended for removable media; related communications devices, such as modems,

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routers, cables, and connections; storage media, such as hard disk drives, floppy disks, USB flash
drives, memory cards, optical disks, and magnetic tapes used to store digital data (excluding analog
tapes such as VHS); security devices; and any other type of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing logical, arithmetic, or
storage functions.

Safes and Secured Containers

7 The seizure and search of safes, both combination and key type, or secured storage
containers that could hold documents, devices, and objects such as those described above in this
Attachment, and entry into those safes and secured storage containers by force, is authorized by
this warrant if such entry cannot easily be achieve by other means, and seizure of the contents,
which contain evidence of the commission of the TARGET OFFENSES in the forms identified
above; and

Indicia of Ownership and Control

8. Indicia of ownership and control, including, receipts, invoices, bills, canceled

envelopes, and keys, which identifies ROTELLA as the owner of documents, devices, objects, and

other evidence of the TARGET OFFENSES.

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

IN THE MATTER OF THE SEARCH OF
500 JACKSON STREET, KANNAPOLIS, Case No. 1:23MJ “4 eZ.
NC, AND ELECTRONIC DEVICES —
OWNED, USED, OR CONTROLLED BY
BRETT ROTELLA, A/K/A BRETT
OSTRANDER AT THE PREMISES

AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
FOR A WARRANT TO SEARCH AND SEIZE

I, Barton Jenkins, being first duly sworn, hereby depose and state as follows:

INTRODUCTION

l. I make this affidavit in support of an application under Rule 41 of the Federal Rules
of Criminal Procedure for a warrant to search the premises at 500 Jackson Street, Kannapolis,
North Carolina, hereinafter “PREMISES,” further described in Attachment A, for the things
described in Attachment B.

2: Unless otherwise noted, wherever in this affidavit I assert that a statement was
made, that statement is described in substance and is not intended to be a verbatim recitation of
such statement. Wherever in this affidavit | quote statements, those quotations have been taken
from draft transcripts, which are subject to further revision.

oe Unless otherwise stated, the conclusions and beliefs I express in this affidavit are
based on my training, experience, and knowledge of the investigation, and reasonable inferences

I’ve drawn from my training, experience, and knowledge of the investigation.

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AFFIANT BACKGROUND

4, I am a Special Agent with the Federal Bureau of Investigation. I have been in this
position since 2002. I am currently assigned to the Charlotte, North Carolina Division, Joint
Terrorism Task Force. My official duties include the investigation of domestic and international
terrorist organizations. I have attended New Agents Training at the FB] Academy in Quantico,
Virginia, which encompasses detailed training in conducting terrorism investigations. Over the
past three (3) years I have conducted or assisted in the investigation of domestic terrorists. | have
prepared and assisted in the preparation of court orders and search warrant applications.
Additionally, during the course of these and other investigations, | conducted or participated in
physical and electronic surveillance, assisted in the execution of search and arrest warrants,
debriefed informants, interviewed witnesses and suspects, and reviewed other pertinent records. |
am currently tasked with investigating criminal activity that occurred in and around the Capitol
grounds on January 6, 2021. As such, | am an “investigative or law enforcement officer” of the
United States within the meaning of Title 18, United States Code, Section 2510(7), that is, an
officer of the United States who is empowered by law to conduct investigations of, and to make
arrests for, offenses enumerated in Title 18 of the United States Code.

5, The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies. This affidavit is
intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

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6. Based on my training and experience and the facts as set forth in this affidavit, |
respectfully submit that there is probable cause to believe that violations of 18 U.S.C. §§
1512(c)(2) (obstruction of Congress); 111 (assaulting, resisting, or impeding certain officers); 231
(civil disorder), 371 (conspiracy); 372 (conspiracy to impede or injure officer); 1361 (destruction
of government property); 2101 (interstate travel to participate in riot); 1752(a) (various offenses
in restricted buildings or grounds); and 40 U.S.C. §§ 5104(e)(2) (various offenses in the Capitol
Buildings) (the “TARGET OFFENSES”) have been committed by BRETT ROTELLA, also
known as Brett Ostrander (‘the Subject”), and other identified and unidentified persons, including
others who may have been aided and abetted by, or conspired with the Subject. There is also
probable cause to search the PREMISES further described in Attachment A, for the things
described in Attachment B.

PROBABLE CAUSE

Background — The U.S. Capitol on January 6, 2021

de U.S. Capitol Police (USCP), the FBI, and assisting law enforcement agencies are
investigating a riot and related offenses that occurred at the United States Capitol Building, located
at 1 First Street, NW, Washington, D.C., 20510 at latitude 38.88997 and longitude -77.00906 on
January 6, 2021.

8. At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet
of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to
south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

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Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of
open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple
terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate
side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All of
this area was barricaded and off limits to the public on January 6, 2021.

9, The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.
Capitol include permanent and temporary security barriers and posts manned by USCP. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

10. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

11. On January 6, 2021, a joint session of the United States Congress convened at the
U.S. Capitol. During the joint session, elected members of the United States House of
Representatives and the United States Senate were meeting in separate chambers of the U.S.
Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which
took place on November 3, 2020 (“Certification”). The joint session began at approximately 1:00
p.m. Eastern Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m. EST, the House
and Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

12. As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

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exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

13. Ataround 1:00 p.m. EST, known and unknown individuals broke through the police
lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and
supporting law enforcement officers there to protect the U.S. Capitol.

14. Ataround 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House
Cannon Office Building and the Library of Congress James Madison Memorial Building in part
because of a suspicious package found nearby. Pipe bombs were later found near both the
Democratic National Committee and Republican National Committee headquarters.

15. Media reporting showed a group of individuals outside of the Capitol chanting,
“Hang Mike Pence.” I know from this investigation that some individuals believed that Vice
President Pence possessed the ability to prevent the certification of the presidential election and
that his failure to do so made him a traitor.

16. At approximately 2:00 p.m. EST, some people in the crowd forced their way
through, up, and over the barricades and law enforcement. The crowd advanced to the exterior
fagade of the building. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks by U.S. Capitol Police Officers or other authorized security officials. At such
time, the certification proceedings were still underway and the exterior doors and windows of the
U.S. Capitol were locked or otherwise secured. Members of law enforcement attempted to

maintain order and keep the crowd from entering the Capitol.

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17. Beginning shortly after 2:00 p.m. EST, individuals in the crowd forced entry into
the U.S. Capitol, including by breaking windows and by assaulting members of law enforcement,
as others in the crowd encouraged and assisted those acts. Publicly available video footage shows
an unknown individual saying to a crowd outside the Capitol building, “We’re gonna fucking take

this,” which your affiant believes was a reference to “taking” the U.S. Capitol.

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18. Once inside, the subjects broke windows and doors, destroyed property, stole
property, and assaulted federal police officers. Many of the federal police officers were injured
and several were admitted to the hospital. The subjects also confronted and terrorized members
of Congress, Congressional staff, and the media. The subjects carried weapons including tire

irons, sledgehammers, bear spray, and tasers. They also took police equipment from overrun

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police including shields and police batons. At least one of the subjects carried a handgun with an
extended magazine.

19. Between approximately 2:10 p.m, EST and 2:30 p.m. EST, Vice President Pence
evacuated the Senate Chamber, and the Senate and House of Representatives were locked down
and went into recess. Both the Senate and the House of Representatives Chamber were
evacuated,

20. As the subjects attempted to break into the House chamber, by breaking the
windows on the chamber door, law enforcement were forced to draw their weapons to protect the
victims sheltering inside. At around 2:45 p.m. EST, subjects broke into the office of House
Speaker Nancy Pelosi.

21. Ataround 2:47 p.m. EST, subjects broke into the Senate Chamber not long after it
had been evacuated. Publicly available video shows an individual asking, “Where are they?” as
they opened up the door to the Senate Chamber. Based upon the context, law enforcement believes

that the word “they” is in reference to members of Congress.

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22. After subjects forced entry into the Senate Chamber, publicly available video shows
that an individual asked, “Where the fuck is Nancy?” Based upon other comments and the context,
law enforcement believes that the “Nancy” being referenced was the Speaker of the House of

Representatives, Nancy Pelosi.

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23. One subject left a note on the podium on the floor of the Senate Chamber. This
note, captured by the filming reporter, stated at least in part, “Only A Matter of Time Justice is

Coming!”

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24. During the time when the subjects were inside the Capitol building, multiple
subjects were observed inside the U.S. Capitol wearing what appears to be, based upon my training
and experience, tactical vests and carrying flex cuffs. Based upon my knowledge, training, and
experience, I know that flex cuffs are a manner of restraint that are designed to be carried in

situations where a large number of individuals are expected to be taken into custody.

10

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25.  Ataround 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew
beginning at 6:00 oem, EST.

26.  Ataround 2:45 p.m. EST, one subject was shot and killed while attempting to break
into the House chamber through the broken windows.

27. At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

28. Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the
U.S. Capitol of all of the subjects.

29. Based on these events, all proceedings of the United States Congress, including the
joint session, were effectively suspended until shortly after 8:00 p.m. EST the same day. In light
of the dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the
danger posed by individuals who had entered the U.S. Capitol without any security screening or
weapons check, Congressional proceedings could not resume until after every unauthorized
occupant had left the U.S. Capitol, and the building had been confirmed secured. The proceedings
resumed at approximately 8:00 pm after the building had been secured. Vice President Pence
remained in the United States Capitol from the time he was evacuated from the Senate Chamber

until the session resumed.

30. Beginning around 8:00 p.m. EST, the Senate resumed work on the Certification.
31. Beginning around 9:00 p.m. EST, the House resumed work on the Certification.
32. Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3:00 a.m. EST on January 7, 2021.

12

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aay During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

34. Based on my training and experience, I know that it is common for individuals to
carry and use their cell phones during large gatherings, such as the gathering that occurred in the
area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings
to allow individuals to capture photographs and video footage of the gatherings, to communicate
with other individuals about the gatherings, to coordinate with other participants at the gatherings,
and to post on social media and digital forums about the gatherings.

35. Many subjects seen on news footage in the area of the U.S. Capitol are using a cell
phone in some capacity. It appears some subjects were recording the events occurring in and
around the U.S. Capitol and others appear to be taking photos, to include photos and video of
themselves after breaking into the U.S. Capitol itself, including photos of themselves damaging
and stealing property. As reported in the news media, others inside and immediately outside the
U.S. Capitol live-streamed their activities, including those described above as well as statements
about these activities.

36, Photos below, available on various publicly available news, social media, and other
media show some of the subjects within the U.S. Capitol during the riot. In several of these photos,
the individuals who broke into the U.S. Capitol can be seen holding and using cell phones,

including to take pictures and/or videos:

13

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! https://losangeles.cbslocal.com/202 1/0 1/06/congresswoman-capitol-building-takeover-an-
attempted-coup/

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2 https://www.businessinsider.com/republicans-objecting-to-electoral-votes-in-congress-live-
updates-2021-1.

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Facts Specific to This Application

ar Based upon review of public video, closed circuit television (“CCTV”) footage and
police body worn camera (“BWC”) footage depicting the events at the U.S. Capitol building and
grounds on January 6, 2021, law enforcement identified an individual who confronted police
officers, led other rioters in advancing toward retreating police, grabbed police riot shields and
repeatedly pushed against police in an effort to gain entrance to the U.S. Capitol. The FBI
subsequently posted a photograph of the individual at the U.S. Capitol under the name 82-AFO
and requested help from the public to identify the individual. As set out in detail below, law

enforcement has identified 82-AFO as BRETT ROTELLA (“ROTELLA”), also known as Brett

3 https://www.thv1 1.com/article/news/arkansas-man-storms-capitol-pelosi/9 1-4 labde60-a390-

4a9e-b5f3-d80b0b96 14 le

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Alan Ostrander. As set out below, law enforcement has identified the PREMISES as ROTELLA’s
residence and there is probable cause to believe that there is evidence, information and
instrumentalities of the TARGET OFFENSES at the PREMISES.

A. ROTELLA’S Activities at the U.S. Capitol on January 6, 2021

38. According to BWC footage, ROTELLA was located on the West Plaza of the U.S.
Capitol building on January 6, 2021 at approximately 2:24 p.m. Below is a still image from BWC

depicting ROTELLA (circled in red) on the West Plaza:

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39.  Asdepicted above, ROTELLA was wearing a red skull cap, a black sleeveless puffy

vest over a red sleeveless shirt, white or gray long shorts with a black stripe and black tennis shoes.

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ROTELLA also held a long pole with at least two flags affixed to it at various points during the
day.

40. Approximately 2 minutes later, ROTELLA approached a metal police barricade,
grabbed the barricade and pushed it in the direction a Metropolitan Police Department (“MPD”)
officer, Officer D.T., and yelled “fuckin’ tear gas us, I didn’t do shit!” ROTELLA also yelled,
“we just want things to be right” and “something has to happen or we’re all fucked!” Below is a
still image from Officer D.T.’s BWC depicting ROTELLA immediately after he pushed the

barricade towards Officer D.T.:

41. At approximately 2:33 p.m., the police line on the West Plaza fell and numerous
police officers retreated away from the area. As the police near him retreated, ROTELLA led

numerous other rioters in quickly following the police up the southwest stairs from the West Plaza.

18

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As ROTELLA led the group up the stairs, he periodically paused calling out “HOLD!” or holding
up his fist to indicate to the group behind him to stop. Below is another still image from BWC

showing ROTELLA directing other rioters to stay in place while the police retreat:

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42. Belowis another still image from BWC depicting ROTELLA holding his right arm

up in a fist to indicate to the rioters behind him to stop while the police retreat:

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43. After reaching the top of the stairs, ROTELLA led the rioters in turning left at the
top of the stairs and around the corner where he again confronted police officers attempting to stop
the crowd from breaching the building. Below is a still image of ROTELLA from BWC still at the
front of a large crowd of rioters, again holding up his right hand in a fist to indicate to his followers

that they should hold their place:

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44, As the officers dispersed from the area, ROTELLA led the crowd of rioters toward
the Inaugural Stage. Below is a still image from BWC depicting ROTELLA leading a crowd of

rioters toward the U.S. Capitol building:

21

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45. At approximately 2:40 p.m., ROTELLA followed the police into a long hallway
leading into the U.S. Capitol building on the Lower West Terrace referred to as “the tunnel.” As
ROTELLA followed the police, a police officer fired rubber bullets at the ground near his feet in
an attempt to stop his advance. ROTELLA then turned around and began to walk backward toward
the police as the rubber bullets were fired at the ground near his feet. Below is a still image from
CCTV depicting the police firing rubber bullets at ROTELLA as he continues to advance by

walking backward into the tunnel:

22

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46. The police then retreated into the tunnel. They shut and locked the first of two sets

of double doors to the entrance of the U.S. Capitol building. ROTELLA stood outside those doors
and stared in at the police line. Below is a still image from BWC depicting ROTELLA staring in

at the police. He also appears to still be holding the flag pole in his left hand:

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47. Moments later, the rioters smashed one of the panes of glass in the doors and opened
the set of doors. They then approached the police line, which was established behind the second
set of doors. As depicted in the still image from BWC below, ROTELLA reached around and

opened the door on the left and then was the second rioter to enter the tunnel:

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48. Another rioter came through the doors and quickly began to physically fight the
police. Soon, other rioters, including ROTELLA joined. For example, below is a still image from
CCTV depicting ROTELLA (circled in red and recognizable by his orange/red skull cap,
sleeveless shirt and black vest), with his right arm outstretched and pushing against the police

shields:

20

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49. At approximately 2:43 p.m., ROTELLA turned his back on the police line and

pushed against the police officers while using his hand to help leverage his weight and push against
the door frame. Below is a still image from BWC depicting ROTELLA pushing against the door
frame to help him push harder against the police. The officers asked ROTELLA to let go of the
door but he said, “I don’t want her to get hurt.” It appeared that at this time, ROTELLA may have

been creating space for a smaller female near him:

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50. Belowis astill image from another video obtained during the investigation (“Video

1”) depicting ROTELLA pushing against the police from the angle of the mob.

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51. Video 1 also indicates ROTELLA may have been at least partially protecting a
small female near him for part of the time he was at the police line. However, the female moves
away from the front line approximately two minutes into the video, but ROTELLA remained at
the police line. Video 1 shows that as he pushed, ROTELLA also briefly grabbed the edge of a
police riot shield before releasing it and raising his hand in the air. Near the end of Video |,

ROTELLA stated, “Just go back please.”

52. After several minutes at the front of the police line, ROTELLA appeared to be
sprayed with OC spray. Clamping his eyes shut, he felt his way out of the tunnel. Another public

video (“Video 2”) depicts ROTELLA as he left the front of the police line:

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53. According to CCTV footage, 82-AFO left the tunnel at approximately 2:55 p.m.

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54. Approximately one hour later, ROTELLA was still located at the area near the
tunnel. By this time, the police had successfully expelled the rioters from inside the tunnel, but the
mob was continuing to fight against the police from outside. ROTELLA was a member of a large
crowd that was pushing in concerted fashion and calling out “heave ho” from outside the tunnel
against the police line. Below is a still image of ROTELLA from a video obtained during the
investigation (“Video 3”) depicting ROTELLA pushing along with the rest of the mob against the

police at approximately 3:50 p.m.

55. Approximately four minutes later, while still pushing with other members of the

mob, ROTELLA extended his left hand in the air, extended his left index finger, then his middle

4 Video 3 does not have time stamps. The estimated time is based on a comparison between Video
3 and other videos that do include timestamps, like CCTV and BWC.

30

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finger, then his ring finger as if to count “1, 2, 3” and then pushed hard against the rioters in front
of him. Below is a still image from Video 3 depicting ROTELLA counting the crowd down to

direct a group push against the police.

56. Another public video (“Video 4”) shows ROTELLA (in the yellow square)

counting the crowd down from an angle directly behind him:

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57. | ROTELLA then made his way through the dense crowd closer to the police line.

Once he was at the police line, another rioter handed ROTELLA a pink tube-like object, possibly
pepper spray. It appears that ROTELLA attempted to activate the pepper spray — perhaps as a test
— but it did not spray. ROTELLA later dropped the item when a ladder was passed overhead.
Below is a still image from another public video (“Video 5”) depicting ROTELLA with the pink

item in his right hand:

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58. | Moments later, ROTELLA no longer had the pink item in his hand when he was
passed a large orange ladder. ROTELLA grabbed the ladder and pushed it overhead toward the
police line and into the mouth of the tunnel. Below is a still image from Video 5 depicting

ROTELLA (circled in red) grabbing the ladder and handing it behind him:

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59. Below is a still image from CCTV depicting ROTELLA’s arm (circled in red) as

the ladder was being pushed in the tunnel at the police:

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60. ROTELLA pushed the entire length of the ladder back and into the tunnel. Below
is a still image of ROTELLA (circled in red) from another video obtained during the investigation

(“Video 6”) grabbing the end of the ladder and continuing to push it into the tunnel at the police:

35

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61. After the ladder was pushed back out of the tunnel by the police, ROTELLA

continued to push against other rioters near him in an effort to collectively push against and breach
the police line in the tunnel. Below is a still image from Video 5 depicting ROTELLA (circled in

red) pushing with his back to the tunnel as the ladder is being pushed back out into the crowd by

the police:

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B. Identification of 82-AFO as BRETT ROTELLA and identification of the
PREMISES as ROTELLA’s Residence.

62. FBI posted a photograph of 82-AFO to its website and asked members of the public

for help in identifying him. Below is the photograph posted by the FBI of 82-AFO:

37

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63. Law enforcement became aware that 82-AFO may be BRETT ROTELLA.® Based
on a search of law enforcement and open-source databases, FBI identified a potential residence for
ROTELLA in Kannapolis, North Carolina (the PREMISES). On or about July 27, 2023, FBI
performed surveillance at the PREMISES. At approximately 4:15 p.m. that afternoon, a white male

matching the description 82-AFO exited the residence with a woman and two minor children. The

5 FBI received at least three [3] tips from the public that identified 82-AFO as someone other than
BRETT ROTELLA. FBI was able to rule out these other tips by, among other things, conducting
open-source research, reviewing law enforcement databases and conducting interviews.

38

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man, woman and children then got into a vehicle and left the Rotella Residence. FBI maintained
physical surveillance of the vehicle and the occupants after it departed the Rotella Residence,
including when the vehicle stopped at a nearby Aldi store and the occupants went inside. Below is

a photograph of the white male who exited the Rotella Residence inside the Aldi store (minor

children have been redacted):

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64. At approximately 6:09 p.m., the vehicle and its occupants returned to the Rotella
Residence, and the man, woman, and children exited the vehicle and entered the residence.

65. Based on FBI’s observations of the white male — including the above photograph -
and a comparison with known photographs of BRETT ROTELLA, agents believe the white male
to be ROTELLA. Further, based on a comparison between ROTELLA and images of 82-AFO
from January 6, 2021, agents believe ROTELLA to be 82-AFO.

66. For example, I compared a number of tattoos that appear on 82-AFO’s arms with
tattoos that appeared on ROTELLA’s arms during physical surveillance. Below are photographs
of 82-AFO on January 6, 2021 and ROTELLA at the Aldi store during surveillance in July 2023
with a number of tattoos identified. I believe that each numbered tattoo (e.g. Tattoo 1, Tattoo 2,
etc) is identical on both 82-AFO and ROTELLA. Based on this comparison, | believe 82-AFO is

ROTELLA.

Aldi Store - July 27, 2023 U.S. Capitol Grounds — January 6, 2021

Tattoo 1

Tattoo 1

40

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Aldi Store - July 27, 2023

U.S. Capitol Grounds — January 6, 2021

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67. FBI also performed open-source research and identified two potential phone
numbers associated with ROTELLA: phone numbers (XXX) XXX-8126 (“Rotella Phone 1”) and
(XXX) XXX-7719 (“Rotella Phone 2”). According to information obtained from Verizon Wireless
pursuant to a search warrant, Rotella Phone 1 and Rotella Phone 2 were identified as having
utilized a cell site consistent with providing service to a geographic area that included the interior
of the United States Capitol building on January 6, 2021. Specifically, Verizon records indicated
that Rotella Phone | was present at or near the U.S. Capitol at least as early as approximately 2:41
p.m. ET until approximately 4:10 p.m. ET. Verizon records also indicated Rotella Phone 2 was
present at or near the U.S. Capitol at least as early as approximately 2:41 p.m. ET until 3:43 p.m.
ET.

68. Furthermore, according to a search of law enforcement databases, it appears that

ROTELLA may have changed his name in or around 2020 to Brett Alan Ostrander. Specifically,
42

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FBI located a North Carolina driver’s license that was issued in September 2020 to a Brett Alan
Ostrander. The driver’s license appears to depict ROTELLA and lists the Rotella Residence as his
address.

69, Finally, on August 5, 2023, the Mooresville, North Carolina Police Department
responded to a call for service at an address in Mooresville, North Carolina. During that response,
they interacted with a man who identified himself as Brett Ostrander. During their investigation,
Ostrander provided Rotella Phone | as his current phone number. On or about August 23, 2023, I
spoke with one of the officers from the Mooresville Police Department who responded to the
August 5, 2023, call and showed him photographs of 82-AFO from the U.S. Capitol on January 6,
2021. The officer identified 82-AFO as Brett Ostrander, the person that he encountered on August
5, 2023.

70.  Iknow, based on my training and experience, that people routinely re-wear clothing
and accessories, store these items in their homes, and keep them for an extended period. Clothing
and accessories consistent with those worn by ROTELLA on January 6, 2021 constitute evidence
of the commission of the offenses discussed herein, in that ROTELLA can be visually identified
as the individual in the photos and videos discussed above, in part through the distinct attire and
accessories worn that day.

71. Lalso know, based on my training and experience, that cell phones are expensive,
and people routinely retain their cell phones for many months or years.

72. Your affiant also knows that hundreds of people have been arrested in connection

to the riot that occurred at the U.S. Capitol on January 6, 2021. During searches of many those

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people’s homes, from early 2021 through present, in multiple jurisdictions, law enforcement has
recovered clothing, paraphernalia, tools, and devices that were worn, used, or carried on January
6, 2021.

73. For example, on June 29, 2022, the home and adjacent barn of a defendant in the
District of Rhode Island was searched, and agents recovered two handheld radios consistent with
the radio that the defendant was photographed holding in Washington, D.C. on January 6, 2021.
On January 13, 2023, a search conducted in the Eastern District of Virginia yielded a subject’s cell
phone used on January 6 and several items believed to be worn on January 6—including a
backpack, a neck gaiter, a tricorn hat, and body armor. On February 1, 2023, the homes of two
suspected rioters were searched in the Eastern District of Michigan. In one home, officers located
clothing worn by the individual at the Capitol on January 6. In the other home, agents discovered
both clothing as well as the stick/club this individual took into the Capitol as well as a protest sign
he displayed that day. On April 11, 2023 in the Western District of Texas, an American flag neck
gaiter, black pants, and a fleece-lined leather winter hat worn by a suspected rioter on January 6
were recovered in his home. On April 12, in the District of New Mexico, officers searched the
home of a suspected rioter and recovered the chrome-colored goggles he wore on January 6. On
April 27, the homes of two suspected rioters were searched in the Middle District of Pennsylvania.
In one home, officers recovered the blue Yamaha jacket the individual wore at the Capitol on
January 6. In the other home, officers recovered a blue Trump hat the individual wore at the Capitol

that day.

44

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74, In this instance, law enforcement believes that ROTELLA possessed a cellular
phone at the U.S. Capitol on January 6, 2021 based on search warrant returns identifying Rotella
Phone 1 as utilizing a cell site consistent with providing service to a geographic area that included
the interior of the United States Capitol building on January 6, 2021. Specifically, Verizon records
indicated that Rotella Phone 1 was present at or near the U.S. Capitol at least as early as
approximately 2:41 p.m. ET, until approximately 4:10 p.m. ET. These time periods are consistent
with the times that ROTELLA was observed on video in or near the Lower West Terrace tunnel.
Therefore, there is probable cause to believe that Rotella Phone | will contain evidence,
information or instrumentalities of the TARGET OFFENSES.

75. Further, based on the investigation, numerous persons committing the TARGET
OFFENSES possessed digital devices to communicate with other individuals to plan their
attendance in Washington D.C. on January 6, 2021, to coordinate with other participants at the
gatherings there that day, and to communicate and post on social media and digital forums about
the events of January 6 after they occurred.

76. Moreover, it is well-known that virtually all adults in the United States use mobile
digital devices. In a fact sheet from June 12, 2019, The Pew Research Center for Internet &
Technology estimated that 96% of Americans owned at least one cellular phone, and that that same
2019 report estimated that 81% of Americans use at least one smartphone. See Mobile Fact Sheet,
https://www.pewresearch.org/internet/fact-sheet/mobile/ (last visited Jan. 9, 2021).

77. In addition, in my training and experience, it is common for individuals to back up

or preserve copies of digital media (such as photos and videos) across multiple devices to prevent

45

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loss. Indeed, some companies provide services that seamlessly sync data across devices, such as
Apple devices and the Apple iCloud service. Thus, there is reason to believe that evidence of the
offense that originally resided on the Subject’s cell phone may also be saved to other digital devices
within the PREMISES.

78. The property to be searched includes mobile phones owned, used, or controlled by
ROTELLA, including but not limited to Rotella Phone 1, hereinafter the “Devices.”

TECHNICAL TERMS

79. Based on my training and experience, and information acquired from other law
enforcement officials with technical expertise, I know the terms described below have the
following meanings or characteristics:

a. “Digital device,” as used herein, includes the following three terms and their
respective definitions:

1) A “computer” means an electronic, magnetic, optical, or other high
speed data processing device performing logical or storage functions, and includes any data storage
facility or communications facility directly related to or operating in conjunction with such device.
See 18 U.S.C. § 1030(e)(1). Computers are physical units of equipment that perform information
processing using a binary system to represent information, Computers include, but are not limited
to, desktop and laptop computers, smartphones, tablets, smartwatches, and binary data processing
units used in the operation of other products like automobiles.

2) “Digital storage media,” as used herein, means any information

storage device in which information is preserved in binary form and includes electrical, optical,

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and magnetic digital storage devices. Examples of digital storage media include, but are not limited
to, compact disks, digital versatile disks (“DVDs”), USB flash drives, flash memory cards, and
internal and external hard drives.

3) “Computer hardware” means all equipment that can receive,
capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic, magnetic,
or similar computer impulses or data. Computer hardware includes any data-processing devices
(including, but not limited to, central processing units, internal and peripheral storage devices such
as fixed disks, external hard drives, floppy disk drives and diskettes, and other memory storage
devices); peripheral input/output devices (including, but not limited to, keyboards, printers, video
display monitors, modems, routers, scanners, and related communications devices such as cables
and connections), as well as any devices, mechanisms, or parts that can be used to restrict access
to computer hardware (including, but not limited to, physical keys and locks).

b. “Wireless telephone” (or mobile telephone, or cellular telephone), a type of
digital device, is a handheld wireless device used for voice and data communication at least in part
through radio signals and also often through “wi-fi” networks. When communicating via radio
signals, these telephones send signals through networks of transmitters/receivers, enabling
communication with other wireless telephones, traditional “land line” telephones, computers, and
other digital devices. A wireless telephone usually contains a “call log,” which records the
telephone number, date, and time of calls made to and from the phone. In addition to enabling
voice communications, wireless telephones offer a broad range of applications and capabilities.

These include, variously: storing names and phone numbers in electronic “address books”;

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sending, receiving, and storing text messages, e-mail, and other forms of messaging; taking,
sending, receiving, and storing still photographs and video; storing and playing back audio files;
storing dates, appointments, and other information on personal calendars; utilizing global
positioning system (“GPS”) locating and tracking technology, and accessing and downloading
information from the Internet.

ey A “tablet” is a mobile computer, typically larger than a wireless phone yet
smaller than a notebook, that is primarily operated by touchscreen. Like wireless phones, tablets
function as wireless communication devices and can be used to access the Internet or other wired
or wireless devices through cellular networks, “wi-fi” networks, or otherwise. Tablets typically
contain programs called applications (“apps”), which, like programs on both wireless phones, as
described above, and personal computers, perform many different functions and save data
associated with those functions.

d. A “GPS” navigation device, including certain wireless phones and tablets,
uses the Global Positioning System (generally abbreviated “GPS”) to display its current location,
and often retains records of its historical locations. Some GPS navigation devices can give a user
driving or walking directions to another location, and may contain records of the addresses or
locations involved in such historical navigation. The GPS consists of 24 NAVSTAR satellites
orbiting the Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly
transmits by radio a mathematical representation of the current time, combined with a special
sequence of numbers. These signals are sent by radio, using specifications that are publicly

available. A GPS antenna on Earth can receive those signals. When a GPS antenna receives signals

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from at least four satellites, a computer connected to that antenna can mathematically calculate the
antenna’s latitude, longitude, and sometimes altitude with a high level of precision.

&. “Computer passwords and data security devices” means information or
items designed to restrict access to or hide computer software, documentation, or data. Data
security devices may consist of hardware, software, or other programming code. A password (a
string of alpha-numeric characters) usually operates as a digital key to “unlock” particular data
security devices. Data security hardware may include encryption devices, chips, and circuit boards.
Data security software of digital code may include programming code that creates “test” keys or
“hot” keys, which perform certain pre-set security functions when touched. Data security software
or code may also encrypt, compress, hide, or “booby-trap” protected data to make it inaccessible
or unusable, as well as reverse the progress to restore it.

f. “Computer software” means digital information which can be interpreted
by a computer and any of its related components to direct the way they work. Computer software
is stored in electronic, magnetic, or other digital form. It commonly includes programs to run
operating systems, applications, and utilities.

g. Internet Protocol (“IP”) Address is a unique numeric address used by digital
devices on the Internet. An IP address, for present purposes, looks like a series of four numbers,
each in the range 0-255, separated by periods (e.g., 149.101.1.32). Every computer attached to the
Internet must be assigned an IP address so that Internet traffic sent from and directed to that

computer may be directed properly from its source to its destination. Most Internet service

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providers control a range of IP addresses. Some computers have static—that is, long-term—IP
addresses, while other computers have dynamic—that is, frequently changed—IP addresses.

h. The “Internet” is a global network of computers and other electronic devices
that communicate with each other using numerous specified protocols. Due to the structure of the
Internet, connections between devices on the Internet often cross state and international borders,
even when the devices communicating with each other are in the same state.

i. “Internet Service Providers,” or “ISPs,” are entities that provide individuals
and businesses access to the Internet. ISPs provide a range of functions for their customers,
including access to the Internet, web hosting, e-mail, remote storage, and co-location of computers
and other communications equipment. ISPs can offer a range of options in providing access to the
Internet, including via telephone-based dial-up and broadband access via digital subscriber line
(“DSL”), cable, dedicated circuits, fiber-optic, or satellite. ISPs typically charge a fee based upon
the type of connection and volume of data, called bandwidth, which the connection supports. Many
ISPs assign each subscriber an account name, a user name or screen name, an e-mail address, an
e-mail mailbox, and a personal password selected by the subscriber. By using a modem, the
subscriber can establish communication with an ISP and access the Internet by using his or her
account name and password.

7 A “modem” translates signals for physical transmission to and from the ISP,
which then sends and receives the information to and from other computers connected to the

Internet.

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k, A “router” often serves as a wireless Internet access point for a single or
multiple devices, and directs traffic between computers connected to a network (whether by wire
or wirelessly). A router connected to the Internet collects traffic bound for the Internet from its
client machines and sends out requests on their behalf. The router also distributes to the relevant
client inbound traffic arriving from the Internet. A router usually retains logs for any devices using
that router for Internet connectivity. Routers, in turn, are typically connected to a modem.

lL. “Domain Name” means the common, easy-to-remember names associated
with an IP address. For example, a domain name of “www.usdoj.gov” refers to the IP address of
149.101.1.32. Domain names are typically strings of alphanumeric characters, with each level
delimited by a period. Each level, read backwards — from right to left — further identifies parts of
an organization. Examples of first-level, or top-level domains are typically .com for commercial
organizations, .gov for the governmental organizations, .org for organizations, and .edu for
educational organizations. Second-level names will further identify the organization, for example
usdoj.gov further identifies the United States governmental agency to be the Department of Justice.
Additional levels may exist as needed until each machine is uniquely identifiable. For example,
www.usdoj.gov identifies the World Wide Web server located at the United States Department of
Justice, which is part of the United States government.

m. “Cache” means the text, image, and graphic files sent to and temporarily
stored by a user’s computer from a website accessed by the user in order to allow the user speedier

access to and interaction with that website in the future.

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n. “Peer to Peer file sharing” (P2P) is a method of communication available to
Internet users through the use of special software, which may be downloaded from the Internet. In
general, P2P software allows a user to share files on a computer with other computer users running
compatible P2P software. A user may obtain files by opening the P2P software on the user’s
computer and searching for files that are currently being shared on the network, A P2P file transfer
is assisted by reference to the IP addresses of computers on the network: an IP address identifies
the location of each P2P computer and makes it possible for data to be transferred between
computers. One aspect of P2P file sharing is that multiple files may be downloaded at the same
time. Another aspect of P2P file sharing is that, when downloading a file, portions of that file may
come from multiple other users on the network to facilitate faster downloading.

i.When a user wishes to share a file, the user adds the file to shared library
files (either by downloading a file from another user or by copying any file into the
shared directory), and the file’s hash value is recorded by the P2P software. The
hash value is independent of the file name; that is, any change in the name of the
file will not change the hash value.

ii. Third party software is available to identify the IP address of a P2P
computer that is sending a file. Such software monitors and logs Internet and local
network traffic.

0. “VPN” means a virtual private network. A VPN extends a private network
across public networks like the Internet. It enables a host computer to send and receive data across

shared or public networks as if they were an integral part of a private network with all the

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functionality, security, and management policies of the private network. This is done by
establishing a virtual point-to-point connection through the use of dedicated connections,
encryption, or a combination of the two. The VPN connection across the Internet is technically a
wide area network (WAN) link between the sites. From a user perspective, the extended network
resources are accessed in the same way as resources available from a private network-hence the
name “virtual private network.” The communication between two VPN endpoints is encrypted and
usually cannot be intercepted by law enforcement.

pi: “Encryption” is the process of encoding messages or information in such a
way that eavesdroppers or hackers cannot read it but authorized parties can. In an encryption
scheme, the message or information, referred to as plaintext, is encrypted using an encryption
algorithm, turning it into an unreadable ciphertext. This is usually done with the use of an
encryption key, which specifies how the message is to be encoded. Any unintended party that can
see the ciphertext should not be able to determine anything about the original message. An
authorized party, however, is able to decode the ciphertext using a decryption algorithm that
usually requires a secret decryption key, to which adversaries do not have access.

q. “Malware,” short for malicious (or malevolent) software, is software used
or programmed by attackers to disrupt computer operations, gather sensitive information, or gain
access to private computer systems. It can appear in the form of code, scripts, active content, and
other software. Malware is a general term used to refer to a variety of forms of hostile or intrusive

software.

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COMPUTERS, ELECTRONIC/MAGNETIC STORAGE, AND FORENSIC ANALYSIS

78. As described above and in Attachment B, this application seeks permission to
search for evidence, fruits, contraband, instrumentalities, and information that might be found on
the PREMISES, in whatever form they are found. One form in which such items might be found
is data stored on one or more digital devices. Such devices are defined above and include any
electronic system or device capable of storing or processing data in digital form, including central
processing units; desktop computers, laptop computers, notebooks, and tablet computers; personal
digital assistants; wireless communication devices, such as telephone paging devices, beepers,
mobile telephones, and smart phones; digital cameras; peripheral input/output devices, such as
keyboards, printers, scanners, plotters, monitors, and drives intended for removable media; related
communications devices, such as modems, routers, cables, and connections; storage media, such
as hard disk drives, floppy disks, USB flash drives, memory cards, optical disks, and magnetic
tapes used to store digital data (excluding analog tapes such as VHS); and security devices. Thus,
the warrant applied for would authorize the seizure of digital devices or, potentially, the copying
of stored information, all idee Rule 41(e)(2)(B). Based on my knowledge, training, and
experience, as well as information related to me by agents and others involved in this investigation
and in the forensic examination of digital devices, I respectfully submit that, if digital devices are
found on the PREMISES, there is probable cause to believe that the items described in Attachment
B will be stored in the Device(s) for at least the following reasons:

a. Individuals who engage in criminal activity use

digital devices, like the Device(s), to communicate with co-conspirators

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online; to store on digital devices, like the Device(s), documents and records
relating to their illegal activity, which can include logs of online chats with co-
conspirators; email correspondence; text or other “Short Message Service”
(“SMS”) messages; contact information of co-conspirators, including
telephone numbers, email addresses, identifiers for instant messaging and
social medial accounts; stolen financial and personal identification data,
including bank account numbers, credit card numbers, and names, addresses,
telephone numbers, and social security numbers of other individuals; and
records of illegal transactions using stolen financial and personal identification
data, to, among other things, (1) keep track of co-conspirator’s contact
information; (2) keep a record of illegal transactions for future reference; (3)
keep an accounting of illegal proceeds for purposes of, among other things,
splitting those proceeds with co-conspirators; and (4) store stolen data for
future exploitation.

Pe Individuals who engage in the foregoing criminal
activity, in the event that they change digital devices, will often “back up” or
transfer files from their old digital devices to that of their new digital devices,
so as not to lose data, including that described in the foregoing paragraph,
which would be valuable in facilitating their criminal activity.

C. Digital device files, or remnants of such files, can be

recovered months or even many years after they have been downloaded onto

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the medium or device, deleted, or viewed via the Internet. Electronic files
downloaded to a digital device can be stored for years at little or no cost. Even
when such files have been deleted, they can be recovered months or years later
using readily-available forensics tools. When a person “deletes” a file on a
digital device such as a home computer, a smart phone, or a memory card, the
data contained in the file does not actually disappear; rather, that data remains
on the storage medium and within the device unless and until it is overwritten
by new data. Therefore, deleted files, or remnants of deleted files, may reside
in free space or slack space — that is, in space on the digital device that is not
allocated to an active file or that is unused after a file has been allocated to a
set block of storage space — for long periods of time before they are
overwritten. In addition, a digital device’s operating system may also keep a
record of deleted data in a “swap” or “recovery” file. Similarly, files that have
been viewed via the Internet are automatically downloaded into a temporary
Internet directory or “cache.” The browser typically maintains a fixed amount
of electronic storage medium space devoted to these files, and the files are only
overwritten as they are replaced with more recently viewed Internet pages.
Thus, the ability to retrieve “residue” of an electronic file from a digital device
depends less on when the file was downloaded or viewed than on a particular
user’s operating system, storage capacity, and computer, smart phone, or other

digital device habits.

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79, As further described in Attachment B, this application seeks permission to locate
not only electronic evidence or information that might serve as direct evidence of the crimes
described in this affidavit, but also for forensic electronic evidence or information that establishes
how the digital device(s) were used, the purpose of their use, who used them (or did not), and
when. Based on my knowledge, training, and experience, as well as information related to me by
agents and others involved in this investigation and in the forensic examination of digital devices,
I respectfully submit there is probable cause to believe that this forensic electronic evidence and
information will be in any of the Device(s) at issue here because:

a. Although some of the records called for by this
warrant might be found in the form of user-generated documents or records
(such as word processing, picture, movie, or texting files), digital devices can
contain other forms of electronic evidence as well. In particular, records of
how a digital device has been used, what it has been used for, who has used it,
and who has been responsible for creating or maintaining records, documents,
programs, applications, and materials contained on the digital device(s) are, as
described further in the attachments, called for by this warrant. Those records
will not always be found in digital data that is neatly segregable from the hard
drive, flash drive, memory card, or other electronic storage media image as a
whole. Digital data stored in the Device(s), not currently associated with any
file, can provide evidence of a file that was once on the storage medium but

has since been deleted or edited, or of a deleted portion of a file (such as a

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paragraph that has been deleted from a word processing file). Virtual memory
paging systems can leave digital data on a hard drive that show what tasks and
processes on a digital device were recently used. Web browsers, e-mail
programs, and chat programs often store configuration data on a hard drive,
flash drive, memory card, or memory chip that can reveal information such as
online nicknames and passwords. Operating systems can record additional
data, such as the attachment of peripherals, the attachment of USB flash
storage devices, and the times a computer, smart phone, or other digital device
was in use. Computer, smart phone, and other digital device file systems can
record data about the dates files were created and the sequence in which they
were created. This data can be evidence of a crime, indicate the identity of the
user of the digital device, or point toward the existence of evidence in other
locations. Recovery of this data requires specialized tools and a controlled
laboratory environment, and also can require substantial time.

b. Forensic evidence on a digital device can also
indicate who has used or controlled the device. This “user attribution”
evidence is analogous to the search for “indicia of occupancy” while executing
a search warrant at a residence. For example, registry information,
configuration files, user profiles, e-mail, e-mail address books, chats, instant
messaging logs, photographs, the presence or absence of malware, and

correspondence (and the data associated with the foregoing, such as file

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creation and last-accessed dates) may be evidence of who used or controlled
the digital device at a relevant time, and potentially who did not.

@, A person with appropriate familiarity with how a
digital device works can, after examining this forensic evidence in its proper
context, draw conclusions about how such digital devices were used, the
purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks,
registry entries, logs, or other forms of forensic evidence on a digital device
that are necessary to draw an accurate conclusion is a dynamic process. While
it is possible to specify in advance the records to be sought, digital device
evidence is not always data that can be merely reviewed by a review team and
passed along to investigators. Whether data stored on digital devices is
evidence may depend on other information stored on the devices and the
application of knowledge about how the devices behave. Therefore, contextual
information necessary to understand other evidence also falls within the scope
of the warrant.

e, Further, in finding evidence of how a digital device

_was used, the purpose of its use, who used it, and when, sometimes it is
necessary to establish that a particular thing is not present on the device. For

example, the presence or absence of counter-forensic programs, anti-virus

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programs (and associated data), and malware may be relevant to establishing
the user’s intent and the identity of the user.

i I know that when an individual uses a digital device
to commit a crime, the individual’s device will generally serve both as an
instrumentality for committing the crime, and also as a storage medium for
evidence of the crime. The digital device is an instrumentality of the crime
because it is used as a means of committing the criminal offense. The digital
device is also likely to be a storage medium for evidence of crime. From my
training and experience, I believe that a digital device used to commit a crime
of this type may contain data that is evidence of how the digital device was
used; data that was sent or received; notes as to how the criminal conduct was
achieved; records of Internet discussions about the crime; and other records
that indicate the nature of the offense and the identities of those perpetrating
it.

METHODS TO BE USED TO SEARCH DIGITAL DEVICES

80. Based on my knowledge, training, and experience, as well as information related to
me by agents and others involved in this investigation and in the forensic examination of digital
devices, I know that:

a. Searching digital devices can be an extremely
technical process, often requiring specific expertise, specialized equipment,
and substantial amounts of time, in part because there are so many types of

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digital devices and software programs in use today. Digital devices — whether,
for example, desktop computers, mobile devices, or portable storage devices —
may be customized with a vast array of software applications, each generating
a particular form of information or records and each often requiring unique
forensic tools, techniques, and expertise. As a result, it may be necessary to
consult with specially trained personnel who have specific expertise in the
types of digital devices, operating systems, or software applications that are
being searched, and to obtain specialized hardware and software solutions to
meet the needs of a particular forensic analysis.

b. Digital data is particularly vulnerable to inadvertent
or intentional modification or destruction. Searching digital devices can
require the use of precise, scientific procedures that are designed to maintain
the integrity of digital data and to recover “hidden,” erased, compressed,
encrypted, or password-protected data. Recovery of “residue” of electronic
files from digital devices also requires specialized tools and often substantial
time. As a result, a controlled environment, such as a law enforcement
laboratory or similar facility, is often essential to conducting a complete and
accurate analysis of data stored on digital devices.

C. Further, as discussed above, evidence of how a
digital device has been used, the purposes for which it has been used, and who

has used it, may be reflected in the absence of particular data on a digital

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device. For example, to rebut a claim that the owner of a digital device was not
responsible for a particular use because the device was being controlled
remotely by malicious software, it may be necessary to show that malicious
software that allows someone else to control the digital device remotely is not
present on the digital device. Evidence of the absence of particular data or
software on a digital device is not segregable from the digital device itself.
Analysis of the digital device as a whole to demonstrate the absence of
particular data or software requires specialized tools and a controlled
laboratory environment, and can require substantial time.

d. Digital device users can attempt to conceal data
within digital devices through a number of methods, including the use of
innocuous or misleading filenames and extensions. For example, files with the
extension “.jpg” often are image files; however, a user can easily change the
extension to “.txt” to conceal the image and make it appear as though the file
contains text. Digital device users can also attempt to conceal data by using
encryption, which means that a password or device, such as a “dongle” or
“keycard,” is necessary to decrypt the data into readable form. Digital device
users may encode communications or files, including substituting innocuous
terms for incriminating terms or deliberately misspelling words, thereby
thwarting “keyword” search techniques and necessitating continuous

modification of keyword terms. Moreover, certain file formats, like portable

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document format (“PDF”), do not lend themselves to keyword searches. Some
applications for computers, smart phones, and other digital devices, do not
store data as searchable text; rather, the data is saved in a proprietary non-text
format. Documents printed by a computer, even if the document was never
saved to the hard drive, are recoverable by forensic examiners but not
discoverable by keyword searches because the printed document is stored by
the computer as a graphic image and not as text. In addition, digital device
users can conceal data within another seemingly unrelated and innocuous file
in a process called “steganography.” For example, by using steganography, a
digital device user can conceal text in an image file that cannot be viewed when
the image file is opened. Digital devices may also contain “booby traps” that
destroy or alter data if certain procedures are not scrupulously followed. A
substantial amount of time is necessary to extract and sort through data that is
concealed, encrypted, or subject to booby traps, to determine whether it is
evidence, contraband, or instrumentalities of a crime.

ei Analyzing the contents of mobile devices, including
tablets, can be very labor intensive and also requires special technical skills,
equipment, and software. The large, and ever increasing, number and variety
of available mobile device applications generate unique forms of data, in
different formats, and user information, all of which present formidable and

sometimes novel forensic challenges to investigators that cannot be anticipated

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before examination of the device. Additionally, most smart phones and other
mobile devices require passwords for access. For example, even older iPhone
4 models, running IOS 7, deployed a type of sophisticated encryption known
as “AES-256 encryption” to secure and encrypt the operating system and
application data, which could only be bypassed with a numeric passcode.
Newer cell phones employ equally sophisticated encryption along with alpha-
numeric passcodes, rendering most smart phones inaccessible without highly
sophisticated forensic tools and techniques, or assistance from the phone
manufacturer. Mobile devices used by individuals engaged in criminal activity
are often further protected and encrypted by one or more third party
applications, of which there are many. For example, one such mobile
application, “Hide It Pro,” disguises itself as an audio application, allows users
to hide pictures and documents, and offers the same sophisticated AES-256
encryption for all data stored within the database in the mobile device.

f. Based on all of the foregoing, | respectfully submit
that searching any digital device for the information, records, or evidence
pursuant to this warrant may require a wide array of electronic data analysis
techniques and may take weeks or months to complete. Any pre-defined search
protocol would only inevitably result in over- or under-inclusive searches, and
misdirected time and effort, as forensic examiners encounter technological and

user-created challenges, content, and software applications that cannot be

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anticipated in advance of the forensic examination of the devices. In light of
these difficulties, your affiant requests permission to use whatever data
analysis techniques reasonably appear to be necessary to locate and retrieve
digital information, records, or evidence within the scope of this warrant.
81. The volume of data stored on many digital devices will typically be so large that it
will be extremely impractical to search for data during the physical search of the premises.

a. Therefore, in searching for information, records, or
evidence, further described in Attachment B, law enforcement personnel
executing this search warrant will employ the following procedures:

l. Upon securing the PREMISES, law
enforcement personnel will, consistent with Rule 41(e)(2)(B) of the
Federal Rules of Criminal Procedure, seize any digital devices (that
is, the Device(s)), within the scope of this warrant as defined above,
deemed capable of containing the information, records, or evidence
described in Attachment B and transport these items to an
appropriate law enforcement laboratory or similar facility for
review. For all the reasons described above, it would not be feasible
to conduct a complete, safe, and appropriate search of any such
digital devices at the PREMISES. The digital devices, and/or any
digital images thereof created by law enforcement sometimes with

the aid of a technical expert, in an appropriate setting, in aid of the

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examination and review, will be examined and reviewed in order to
extract and seize the information, records, or evidence described in
Attachment B.

z The analysis of the contents of the
digital devices may entail any or all of various forensic techniques
as circumstances warrant. Such techniques may include, but shall
not be limited to, surveying various file “directories” and the
individual files they contain (analogous to looking at the outside of
a file cabinet for the markings it contains and opening a drawer
believed to contain pertinent files); conducting a file-by-file review
by “opening,” reviewing, or reading the images or first few “pages”
of such files in order to determine their precise contents; “scanning”
storage areas to discover and possibly recover eoontly deleted data;
scanning storage areas for deliberately hidden files; and performing
electronic “keyword” searches through all electronic storage areas
to determine whether occurrences of language contained in such
storage areas exist that are related to the subject matter of the
investigation.

Bn In searching the digital devices, the
forensic examiners may examine as much of the contents of the

digital devices as deemed necessary to make a determination as to

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whether the contents fall within the items to be seized as set forth in
Attachment B. In addition, the forensic examiners may search for
and attempt to recover “deleted,” “hidden,” or encrypted data to
determine whether the contents fall within the items to be seized as
described in Attachment B. Any search techniques or protocols used
in searching the contents of the seized digital devices will be
specifically chosen to identify the specific items to be seized under
this warrant.

BIOMETRIC ACCESS TO DEVICE(S)

82. This warrant permits law enforcement agents to obtain from the person of BRETT
ROTELLA, also known as Brett Alan Ostrander (but not any other individuals present at the
PREMISES at the time of execution of the warrant) the compelled display of any physical
biometric characteristics (such as fingerprint/thumbprint or facial characteristics) necessary to
unlock any Device(s) requiring such biometric access subject to seizure pursuant to this warrant
for which law enforcement has reasonable suspicion that the aforementioned person(s)’ physical
biometric characteristics will unlock the Device(s). The grounds for this request are as follows:

83. 1 know from my training and experience, as well as from information found in
publicly available materials published by device manufacturers, that many electronic devices,
particularly newer mobile devices and laptops, offer their users the ability to unlock the device
through biometric features in lieu of a numeric or alphanumeric passcode or password. These

biometric features include fingerprint scanners, facial recognition features, and iris recognition

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features. Some devices offer a combination of these biometric features, and the user of such
devices can select which features they would like to utilize.

84. Ifa device is equipped with a fingerprint scanner, a user may enable the ability to
unlock the device through his or her fingerprints. For example, Apple offers a feature called
“Touch ID,” which allows a user to register up to five fingerprints that can unlock a device. Once
a fingerprint is registered, a user can unlock the device by pressing the relevant finger to the
device’s Touch ID sensor, which is found in the round button (often referred to as the “home”
button) located at the bottom center of the front of the device. The fingerprint sensors found on
devices produced by other manufacturers have different names but operate similarly to Touch ID.

85. If a device is equipped with a facial-recognition feature, a user may enable the
ability to unlock the device through his or her face. For example, this feature is available on certain
Android devices and is called “Trusted Face.” During the Trusted Face registration process, the
user holds the device in front of his or her face. The device’s front-facing camera then analyzes
and records data based on the user’s facial characteristics. The device can then be unlocked if the
front-facing camera detects a face with characteristics that match those of the registered face.
Facial recognition features found on devices produced by other manufacturers (such as Apple’s
“Face ID”) have different names but operate similarly to Trusted Face.

86.  Ifadevice is equipped with an iris-recognition feature, a user may enable the ability
to unlock the device with his or her irises. For example, on certain Microsoft devices, this feature
is called “Windows Hello.” During the Windows Hello registration, a user registers his or her irises

by holding the device in front of his or her face. The device then directs an infrared light toward

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the user’s face and activates an infrared-sensitive camera to record data based on patterns within
the user’s irises. The device can then be unlocked if the infrared-sensitive camera detects the
registered irises, Iris-recognition features found on devices produced by other manufacturers have
different names but operate similarly to Windows Hello.

87, In my training and experience, users of electronic devices often enable the
aforementioned biometric features because they are considered to be a more convenient way to
unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover, in
some instances, biometric features are considered to be a more secure way to protect a device’s
contents. This is particularly true when the users of a device are engaged in criminal activities and
thus have a heightened concern about securing the contents of a device.

88. As discussed in this Affidavit, your Affiant has reason to believe that one or more
digital devices, the Device(s), will be found during the search. The passcode or password that
would unlock the Device(s) subject to search under this warrant currently is not known to law
enforcement. Thus, law enforcement personnel may not otherwise be able to access the data
contained within the Device(s), making the use of biometric features necessary to the execution of
the search authorized by this warrant.

89.  Talso know from my training and experience, as well as from information found in
publicly available materials including those published by device manufacturers, that biometric
features will not unlock a device in some circumstances even if such features are enabled, This can
occur when a device has been restarted, inactive, or has not been unlocked for a certain period of

time. For example, Apple devices cannot be unlocked using Touch ID when: (1) more than 48

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hours has elapsed since the device was last unlocked; or, (2) when the device has not been unlocked
using a fingerprint for 8 hours and the passcode or password has not been entered in the last 6
days. Similarly, certain Android devices cannot be unlocked with Trusted Face if the device has
remained inactive for four hours. Biometric features from other brands carry similar restrictions.
Thus, in the event law enforcement personnel encounter a locked device equipped with biometric
features, the opportunity to unlock the device through a biometric feature may exist for only a
short time.

90, Due to the foregoing, if law enforcement personnel encounter any Device(s) that
are subject to seizure pursuant to this warrant and may be unlocked using one of the
aforementioned biometric features, this warrant permits law enforcement personnel to obtain from
the aforementioned person(s) the display of any physical biometric characteristics (such as
fingerprint/thumbprint or facial characteristics) necessary to unlock any Device(s), including to
(1) press or swipe the fingers (including thumbs) of the aforementioned person(s) to the fingerprint
scanner of the Device(s) found at the PREMISES; (2) hold the Device(s) found at the PREMISES
in front of the face of the aforementioned person(s) to activate the facial recognition feature; and/or
(3) hold the Device(s) found at the PREMISES in front of the face of the aforementioned person(s)
to activate the iris recognition feature, for the purpose of attempting to unlock the Device(s) in
order to search the contents as authorized by this warrant.

91. | The proposed warrant does not authorize law enforcement to require that the
aforementioned person(s) state or otherwise provide the password, or identify specific biometric

characteristics (including the unique finger(s) or other physical features) that may be used to

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unlock or access the Device(s). Nor does the proposed warrant authorize law enforcement to use
the fact that the warrant allows law enforcement to obtain the display of any biometric
characteristics to compel the aforementioned person(s) to state or otherwise provide that
information. However, the voluntary disclosure of such information by the aforementioned
person(s) would be permitted under the proposed warrant. To avoid confusion on that point, if
agents in executing the warrant ask any of the aforementioned person(s) for the password to any
Device(s), or to identify which biometric characteristic (including the unique finger(s) or other
physical features) unlocks any Device(s), the agents will not state or otherwise imply that the
warrant requires the person to provide such information, and will make clear that providing any
such information is voluntary and that the person is free to refuse the request.

CONCLUSION

92. 1 submit that this affidavit supports probable cause for a warrant to search the
PREMISES described in Attachment A and to seize the items described in Attachment B.
Respectfully submitted,
/s/ Barton Jenkins

Barton Jenkins, Special Agent
Federal Bureau of Investigation

In accordance with Rule 4.1(b)(2)(A), the Affiant attested under oath to the contents of this
Affidavit, which was submitted to ) me-by reliable electronic means, on this “y { Pay of
August, 2023, at ‘SO an@p.m.

Se lza

L. Patrick Auld ~ vy
United States Magistrate Judge

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